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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :       Case No. 21-CR-206 (RDM)
                                                      :
                v.                                    :
                                                      :
JONATHAN MELLIS,                                      :
                                                      :
                               Defendant.             :


                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the above defendant, by and through his counsel, David Benowitz,

Esq., respectfully submit this Joint Status Report in the above-mentioned matter. In support of this

Joint Status Report, the parties rely on the following points and authorities and any other such

points and authorities as may be raised at any hearing on this matter.

       1)       For his alleged conduct on January 6, 2021, Mellis is charged by Indictment, inter

 alia, with Civil Disorder, in violation of 18 U.S.C. § 231(a)(3) and other related criminal offenses.

       2)       By way of this Court’s Minute Order dated October 25, 2022, directing the parties,

inter alia, to file a further joint status report on or before November 7, 2022, informing the Court

whether Defendant is withdrawing the pending motion for reconsideration of pretrial detention,

ECF #27, or request that the Court set a new hearing date on the motion in light of the unavailability

of defense counsel.

       3)       In that regard, undersigned counsel for the government and counsel for the

defendant respectfully request that the Court set a new hearing date for the Defendant’s motion for

reconsideration of pretrial detention to approximately the third or fourth week in January 2023, or

whatever date is consistent with the Court’s calendar. More broadly, the parties will still be in
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discussions regarding a possible non-trial disposition in this matter.

       4)        Further, counsel for the defendant states that because he has been in a jury trial in

Virginia during the past several weeks and expects it to conclude sometime on or about the second

week of December, counsel for the Defendant needs additional time to review this matter to make

the appropriate determinations of this case with Mr. Mellis.

       5)       If granted, the parties will reach out to the Court’s courtroom deputy to obtain the

available date(s) for the Court and parties.

       6)       Accordingly, counsel for the defendant can represent that the defendant joins in this

motion and further advise the Court that the defendant agrees that the Speedy Trial Clock, pursuant

to the Speedy Trial Act 18 U.S. Code § 3161, should be tolled until the next hearing in this matter.

       7)       Wherefore, the parties give the Court this joint status report of this matter and

respectfully request a hearing in this matter in the third or fourth week of January 2023 or whatever

date is consistent with the Court’s calendar.

                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY


                                       By:       /s/ Emory V. Cole
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